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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS


 NATIONAL ASSOCIATION FOR GUN RIGHTS,
 and JOSEPH R. CAPEN,

                Plaintiffs,                                 Civil Action No. 1:22-cv-11431-FDS

        v.

 ANDREA JOY CAMPBELL, in her official
 capacity as Attorney General of the Commonwealth
 of Massachusetts,

                Defendant.



             DEFENDANT’S SECOND NOTICE OF SUPPLEMENTAL AUTHORITY

         Defendant Andrea Joy Campbell, in her official capacity as Attorney General of the

Commonwealth of Massachusetts, submits this Second Notice of Supplemental Authority to

apprise the Court of two recent decisions issued since the hearing in this matter on May 30,

2023.

         •    Hartford v. Ferguson, 2023 WL 3836230, 3:23-cv-05364-RJB (W.D. Wa. June 6,

              2023) (Exhibit A). In Hartford, the Plaintiffs sought a preliminary injunction to

              enjoin enforcement of a Washington statute banning manufacture or sale of assault

              weapons. The court denied the motion, holding that the Plaintiffs failed to

              demonstrate a likelihood of success on the merits or irreparable harm, or that the

              balance of equities tipped in their favor.

         •    People of the State of Colorado v. Sgaggio, 2022M5894 (El Paso Cty. June 8, 2023)

              (Exhibit B). In Sgaggio, the Defendant moved to dismiss criminal charges, on

              Second Amendment grounds, arising from a violation of a Colorado statute banning
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          possession of handgun magazines holding more than 15 rounds. The court denied the

          motion, concluding that there is a historical tradition of regulating large-capacity

          magazines, and that large-capacity magazines are designed and primarily used for

          military or offensive use, not individual self-defense.




June 9, 2023                                 Respectfully submitted,

                                             ANDREA JOY CAMPBELL,
                                             in her official capacity as Attorney General of the
                                             Commonwealth of Massachusetts,

                                             s/ Julie E. Green
                                             Julie E. Green, BBO # 645725
                                             Grace Gohlke, BBO # 704218
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                                CERTIFICATE OF SERVICE

        I, Julie E. Green, hereby certify that a true and correct copy of the foregoing document,
including all exhibits attached hereto, was filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF) and paper
copies will be sent to those indicated as non-registered participants on June 9, 2023.

                                              s/ Julie E. Green




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          EXHIBIT A
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                    2023 WL 3836230                              [1] plaintiffs failed to make clear showing of evidence that
      Only the Westlaw citation is currently available.          supported contention that weapons covered under law were
      United States District Court, W.D. Washington,             protected by Second Amendment;
                        at Tacoma.
                                                                 [2] law was consistent with historic tradition of arms
        Lawrence HARTFORD; Douglas Mitchell;                     regulation;
         Brett Bass; Sporting Systems Vancouver,
        Inc.; Second Amendment Foundation, Inc.;                 [3] plaintiffs failed to show that they were likely to suffer
                                                                 irreparable harm in the absence of preliminary relief; and
       and Firearms Policy Coalition, Inc., Plaintiffs,
                               v.
                                                                 [4] plaintiffs failed to show that the balance of equities tipped
       Robert FERGUSON, in his official capacity as
                                                                 in their favor or that an injunction was in the public interest.
    Washington State Attorney General; John R. Batiste,
     in his official capacity as Chief of the Washington
      State Patrol; John Gese, in his official capacity as       Motions denied.
      Sheriff for Kitsap County; Clayton Myers, in his
    official capacity as Sheriff for Kittitas County; John       Procedural Posture(s): Motion for Preliminary Injunction;
                                                                 Motion for Summary Judgment; Other.
     Horch, in his official capacity as Sheriff for Clark
     County; Adam Fortnoy, in his official capacity as
    Sheriff for Snohomish County; Chad M. Enright, in             West Headnotes (18)
    his official capacity as County Prosecutor for Kitsap
      County; Greg Zempel, in his official capacity as
                                                                  [1]     Injunction       Grounds in general; multiple
    County Prosecutor for Kittitas County; Tony Golik,                    factors
   in his official capacity as County Prosecutor for Clark
                                                                          Under one test, plaintiffs seeking a preliminary
  County; and Jason Cummings, in his official capacity as                 injunction in the Ninth Circuit may show: (1) that
  County Prosecutor for Snohomish County, Defendants.                     they are likely to succeed on the merits, (2) that
                                                                          they are likely to suffer irreparable harm in the
                CASE NO. 3:23-cv-05364-RJB
                                                                          absence of preliminary relief, (3) the balance of
                             |
                                                                          equities tips in their favor, and (4) an injunction
                    Signed June 6, 2023
                                                                          is in the public interest.
Synopsis
Background: Individual gun owners, a gun dealer, and
associations of gun owners dedicated to Second Amendment          [2]     Injunction       Grounds in general; multiple
advocacy brought § 1983 action against Washington State                   factors
Attorney General, Chief of the Washington State Patrol, and               Under one variant of the Ninth Circuit's test
sheriffs and prosecutors for various Washington counties,                 for a preliminary injunction, the “sliding scale”
in their official capacities, alleging that Washington law                version of the standard provides that if a plaintiff
prohibiting the manufacture, importation, distribution or sale            can only show that there are serious questions
of assault weapons with certain exceptions violated their                 going to the merits—a lesser showing than
Second Amendment right to keep and bear arms. Plaintiffs                  likelihood of success on the merits—then a
moved for preliminary injunction and to advance a trial on the            preliminary injunction may still issue if the
merits and consolidate it with the preliminary injunction or,             balance of hardships tips sharply in the plaintiff's
in the alternative, to grant summary judgment.                            favor, and the other two preliminary injunction
                                                                          factors are satisfied.


Holdings: The District Court, Robert J. Bryan, J., held that:



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                                                                     presumptively protects that conduct; second, the
 [3]    Injunction       Clear showing or proof                      burden shifts to proponents of the law to justify
        Preliminary injunction may only be awarded                   the challenged law by demonstrating that it is
        upon clear showing of evidence that supports                 consistent with the nation's historical tradition of
        each relevant preliminary injunction factor.                 firearm regulation. U.S. Const. Amend. 2.



 [4]    Injunction       Evidence                             [9]    Weapons         Violation of right to bear arms
        Injunction       Hearing procedure                           The first consideration under the analysis, in
        Even though a clear showing of evidence that                 New York State Rifle & Pistol Ass'n, Inc. v.
        supports each relevant preliminary injunction                Bruen, 142 S. Ct. 2111, for determining whether
        factor is required, due to the urgency of obtaining          firearm regulation violates Second Amendment
        a preliminary injunction at a point when there               right to keep and bear arms requires inquiry
        has been limited factual development, the rules              into whether the plain text of the Second
        of evidence do not apply strictly to preliminary             Amendment protects each of the individual
        injunction proceedings.                                      plaintiffs’ proposed courses of conduct. U.S.
                                                                     Const. Amend. 2.


 [5]    Injunction       Scope of inquiry and matters
        considered                                            [10]   Injunction       Particular cases
        In deciding motion for preliminary injunction,               Individual gun owners, gun dealer, and
        district court is not bound to decide doubtful and           associations of gun owners failed to make
        difficult questions of law or disputed questions             clear showing of evidence supporting contention
        of fact.                                                     that weapons covered under Washington law
                                                                     prohibiting sale of assault weapons were
                                                                     in common use and protected by Second
 [6]    Weapons        Right to bear arms in general                 Amendment, and thus they did not show
                                                                     likelihood of success on the merits or serious
        Second Amendment protects a personal right to
                                                                     questions going to merits, which weighed against
        keep and bear arms for lawful purposes, most
                                                                     preliminary injunction, in § 1983 action against
        notably for self-defense within the home. U.S.
                                                                     Washington State and county officials, alleging
        Const. Amend. 2.
                                                                     that law violated right to keep and bear arms;
                                                                     plaintiffs' submission of articles purporting to
                                                                     indicate that there were millions of assault
 [7]    Weapons        Right to bear arms in general                 weapons sold in United States and court cases
        Second Amendment right to keep and bear arms                 discussing number of assault weapons was
        is not unlimited. U.S. Const. Amend. 2.                      marked by argument without citations or sources
                                                                     showing support by admissible evidence. U.S.
                                                                     Const. Amend. 2; 42 U.S.C.A. § 1983.
 [8]    Weapons        Violation of right to bear arms
                                                                     More cases on this issue
        In determining whether firearm regulation
        violates Second Amendment right to keep and
        bear arms, test announced in New York State           [11]   Weapons         Violation of right to bear arms
        Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S.                  Under the analysis, in New York State Rifle &
        Ct. 2111, applies: first to be considered, is                Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, for
        whether the Second Amendment's plain text                    determining whether firearm regulation violates
        covers an individual's conduct regulated by                  Second Amendment right to keep and bear
        the challenged law; if so, the Constitution                  arms, in order to show that a law is consistent



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        with the Nation's historical tradition of firearm
        regulation, proponents of the law must point         [14]   Weapons        Violation of right to bear arms
        to a historic regulation or regulations that is             In demonstrating that proposed law is consistent
        an analogue for the modern firearm regulation               with the nation's historical tradition of firearm
        at issue; this inquiry requires a determination             regulation, analysis, in New York State Rifle &
        of whether the two regulations are relevantly               Pistol Ass'n, Inc. v. Bruen, 142 S. Ct. 2111, for
        similar using at least two metrics: the how                 determining whether firearm regulation violates
        and why the regulations burden a law-abiding                Second Amendment right to keep and bear arms
        citizen's right to armed self-defense. U.S. Const.          does not require that the historical regulation
        Amend. 2.                                                   be the exact same; it is not a historical straight
                                                                    jacket. U.S. Const. Amend. 2.


 [12]   Weapons        Violation of right to bear arms
        In demonstrating that proposed law is consistent     [15]   Weapons        Violation of right to bear arms
        with the nation's historical tradition of firearm           In demonstrating that proposed law is consistent
        regulation, proponents of a law regulating                  with the nation's historical tradition of firearm
        firearms need not point to a historical twin or             regulation, under analysis, in New York State
        a dead ringer for historical precursors to pass             Rifle & Pistol Ass'n, Inc. v. Bruen, 142 S. Ct.
        constitutional muster, under the analysis, in New           2111, for determining whether firearm regulation
        York State Rifle & Pistol Ass'n, Inc. v. Bruen,             violates Second Amendment right to keep and
        142 S. Ct. 2111, for determining whether firearm            bear arms, analogical reasoning requires that
        regulation violates Second Amendment right to               the law's proponents identify a well-established
        keep and bear arms. U.S. Const. Amend. 2.                   and representative historical analogue, not a
                                                                    historical twin. U.S. Const. Amend. 2.


 [13]   Injunction      Weapons and explosives
        Washington law prohibiting sale of assault           [16]   Injunction       Weapons and explosives
        weapons was consistent with historic tradition              Individual gun owners, gun dealer, and
        of arms regulation, and thus gun owners, gun                associations of gun owners failed to show that
        dealer, and associations of gun owners failed               they were likely to suffer irreparable harm
        to establish likelihood of success on merits or             in the absence of preliminary relief, which
        serious questions going to merits, which weighed            weighed against preliminary injunction, in their
        against preliminary injunction, in § 1983 action            § 1983 action against Washington State and
        against Washington officials, alleging that law             county officials, alleging that Washington law
        violated Second Amendment right to keep                     prohibiting sale of assault weapons violated
        and bear arms; trap guns, bowie knives,                     their Second Amendment right to keep and bear
        clubs, slungshots, multi-shot revolvers, and                arms, although individual gun owners asserted
        automatic weapons were examples of weapons                  that they already owned assault weapons and
        regulated due to use for interpersonal violence,            were harmed because they wished to purchase
        and historical regulations and Washington law               more; individual owners had alternative weapons
        imposed comparable burdens on right of armed                available, particularly for self-defense, and gun
        self-defense that were justified by public                  dealer had no independent Second Amendment
        safety concerns regarding weapons considered                right to sell firearms separate from its customer's
        extremely dangerous. U.S. Const. Amend. 2; 42               right to acquire them. U.S. Const. Amend. 2; 42
        U.S.C.A. § 1983.                                            U.S.C.A. § 1983.

        More cases on this issue                                    More cases on this issue




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 [17]   Injunction    Injunctions Sought by                    Christopher E. Horner, Kittitas County Prosecuting Attorney,
        Government in General                                  Ellensburg, WA, for Defendants Clayton Myers, Gregory L.
        Injunction       Injunctions against government        Zempel.
        entities in general
                                                               Amanda Marie Migchelbrink, Leslie Anne Lopez, Clark
        When the government is a party, the las                County Prosecuting Attorney's Office, Vancouver, WA, for
        two preliminary injunction factors, balance of         Defendants John Horch, Tony Golik.
        equities and public interest, merge.
                                                               Lyndsey Marie Downs, Margaret Duncan, Snohomish County
                                                               Prosecuting Attorney (Civil), Civil Division, Everett, WA, for
 [18]   Injunction      Weapons and explosives                 Defendants Adam Fortnoy, Jason Cummings.
        Individual gun owners, gun dealer, and                 Kai A. Smith, Meha Goyal, Zachary J. Pekelis, Pacifica Law
        associations of gun owners failed to show              Group LLP, Seattle, WA, for Defendant Alliance for Gun
        that the balance of equities tipped in their           Responsibility.
        favor or that an injunction was in the public
        interest, which weighed against preliminary            Trevor Burrus, Pro Hac Vice, Arlington, VA, Derek Angus
        injunction in their § 1983 action against              Lee, Angus Lee Law Firm, PLLC, Vancouver, WA, for Amici
        Washington State and county officials, alleging        Washington Gun Rights, American Firearms Association.
        that Washington law prohibiting sale of assault
        weapons violated their Second Amendment
        right to keep and bear arms; considering the                       ORDER DENYING MOTION FOR
        exceptional dangerousness of assault weapons,                       PRELIMINARY INJUNCTION
        public interest in their regulation outweighed
        plaintiffs’ desire to purchase them, and in light      ROBERT J. BRYAN, United States District Judge
        of recent mass deaths caused by assailants
        using assault weapons, it was appropriate for           *1 This matter comes before the Court on the Plaintiffs’
        governmental bodies to find ways to protect            Motion for Preliminary Injunction. Dkt. 10. The Court has
        the public from dangerous weapons, within the          considered the pleadings filed regarding the motion and the
        limits of the Second Amendment. U.S. Const.            remaining file. It is fully advised. No party has requested oral
        Amend. 2; 42 U.S.C.A. § 1983.                          argument on this motion under Local Rule W.D. Wash. 7(b)
                                                               (4) and argument is not necessary to decide the motion fairly.
        More cases on this issue
                                                               In this case, the Plaintiffs challenge a recently enacted
                                                               Washington State assault weapons regulation, Substitute
                                                               House Bill 1240 (“HB 1240”), arguing that it violates their
Attorneys and Law Firms                                        constitutional right to bear arms. Dkt. 1. They now move
                                                               for an order preliminarily enjoining HB 1240's enforcement.
Joel B. Ard, Ard Law Group PLLC, Bainbridge Island, WA,        Dkt. 10. For the reasons provided below, the motion (Dkt. 10)
for Plaintiffs.                                                should be denied.

R. July Simpson, William McGinty, Attorney General's
Office, Olympia, WA, Andrew R.W. Hughes, Kristin Beneski,
Attorney General's Office, Seattle, WA, for Defendants                I. FACTS AND PROCEDURAL HISTORY
Robert Ferguson, John R. Batiste.
                                                               On April 25, 2023, HB 1240 was enacted in the State of
Christine M. Palmer, Kitsap County Prosecutor's Office, Port   Washington. 2023 Wash. Sess. Laws, ch. 162, § 1. HB
Orchard, WA, for Defendants John Gese, Chad M. Enright.        1240 prohibits the manufacture, importation, distribution or
                                                               sale of “assault weapons” with certain exceptions. Id. It
                                                               does not bar the possession or inheritance of an “assault
                                                               weapon.” Id. “Assault weapons” are defined in HB 1240 to


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include specific firearms like AK-47s, AR15s, and M16s,              of the Winter standard provides that “if a plaintiff can only
semiautomatic rifles that have an overall length of less than        show that there are serious questions going to the merits—
30 inches, conversion kits, and semiautomatic weapons that           a lesser showing than likelihood of success on the merits—
accept a detachable magazine and have one of several other           then a preliminary injunction may still issue if the balance of
enumerated accessories. Id. While the Plaintiffs maintain that       hardships tips sharply in the plaintiff's favor, and the other two
these weapons are not “assault weapons,” this opinion will           Winter factors are satisfied.” All. for the Wild Rockies at 1217
refer to the weapons regulated under HB1240 as “assault              (cleaned up).
weapons” because that is the term that is used, and defined,
in the statute.                                                       *2 [3]      [4]   [5] A preliminary injunction may only be
                                                                     awarded “upon a clear showing” of evidence that supports
The Plaintiffs, individual gun owners who wish to purchase           each relevant preliminary injunction factor. Winter at 22,
weapons covered by HB 1240, a gun dealer, and two                    129 S.Ct. 365. Even though a “clear showing” is required
associations of gun owners dedicated to Second Amendment             under Winter, “[d]ue to the urgency of obtaining a preliminary
advocacy, filed this case on April 25, 2023, arguing that HB         injunction at a point when there has been limited factual
1240 violates their Second Amendment rights, as applied              development, the rules of evidence do not apply strictly to
to enactments of Washington state through the Fourteenth             preliminary injunction proceedings.” Herb Reed Enterprises,
Amendment. Dkt. 1.                                                   LLC v. Florida Entm't Mgmt., Inc., 736 F.3d 1239, 1250
                                                                     n. 5 (9th Cir. 2013). Further, “[i]n deciding a motion for
Plaintiffs moved for a preliminary injunction on May 5, 2023.        a preliminary injunction, the district court is not bound to
Dkt. 10. In addition to moving for a preliminary injunction,         decide doubtful and difficult questions of law or disputed
the Plaintiffs move the Court to advance a trial on the merits       questions of fact.” Int'l Molders’ & Allied Workers’ Local
and consolidate it with the preliminary injunction, or in the        Union No. 164 v. Nelson, 799 F.2d 547, 551 (9th Cir. 1986).
alternative, grant summary judgment to the Plaintiffs. Id.

In Plaintiffs’ Motion for Preliminary Injunction and                    B. SUCCESS ON THE MERITS/SERIOUS
supporting documents, they contend that they have alleged,              QUESTIONS GOING TO THE MERITS
both directly and impliedly, all of the facts necessary to justify   Adopted in 1791 as part of the Bill of Rights, the Second
their position and to pass the test justifying a preliminary         Amendment to the U.S. Constitution provides that “[a] well
injunction. In Defendants’ responsive pleadings, however,            regulated Militia, being necessary to the security of a free
Defendants have alleged facts contrary to Plaintiffs’ showing        State, the right of the people to keep and bear Arms, shall
which raise fact questions challenging Plaintiffs’ showing.          not be infringed.” At the time of the Bill of Rights’ adoption,
                                                                     it was understood to only apply to the federal government.
                                                                     D.C. v. Heller, 554 U.S. 570, 619, 128 S.Ct. 2783, 171
                                                                     L.Ed.2d 637 (2008). In 1868, the Fourteenth Amendment was
                      II. DISCUSSION                                 adopted, applying the Bill of Rights, including the Second
                                                                     Amendment, to the States. McDonald v. City of Chicago, Ill.,
    A. STANDARD ON MOTION FOR PRELIMINARY
                                                                     561 U.S. 742, 764, 130 S.Ct. 3020, 177 L.Ed.2d 894 (2010).
    INJUNCTION
 [1]     [2] Plaintiffs seeking a preliminary injunction in the
                                                                      [6] [7] The Second Amendment protects “a personal right
Ninth Circuit must establish one of two tests. All. for the Wild
                                                                     to keep and bear arms for lawful purposes, most notably
Rockies v. Pena, 865 F.3d 1211, 1217 (9th Cir. 2017). The
                                                                     for self-defense within the home.” McDonald at 780, 130
first test requires plaintiffs to show: (1) that they are “likely
                                                                     S.Ct. 3020. This Second Amendment right “is not unlimited.”
to succeed on the merits,” (2) that they are “likely to suffer
                                                                     Heller at 626, 128 S.Ct. 2783. The Supreme Court in Heller
irreparable harm in the absence of preliminary relief,” (3) “the
                                                                     noted:
balance of equities tips in [their] favor,” and (4) “an injunction
is in the public interest.” Coffman v. Queen of Valley Med. Ctr.,
895 F.3d 717, 725 (9th Cir. 2018)(citing Winter v. Nat. Res.
Def. Council, Inc., 555 U.S. 7, 129 S.Ct. 365, 172 L.Ed.2d                        From Blackstone through the 19th-
249 (2008)). Under the second variant of the Ninth Circuit's                      century cases, commentators and
test for a preliminary injunction, the “sliding scale” version                    courts routinely explained that the



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             right was not a right to keep and
             carry any weapon whatsoever in any                     *3 The Plaintiffs misread Heller and Bruen. Heller noted
             manner whatsoever and for whatever                    that the right to keep and bear arms protected under the
             purpose. For example, the majority                    Second Amendment is limited to the sorts of weapons
             of the 19th-century courts to consider                “in common use at the time.” Heller at 627, 128 S.Ct.
             the question held that prohibitions                   2783. It found that this limitation is “supported by the
             on carrying concealed weapons were                    historical tradition of prohibiting ‘dangerous and unusual
             lawful under the Second Amendment                     weapons.’ ” Id. Heller does not hold that access to all
             or state analogues. Although we do                    weapons “in common use” are automatically entitled to
             not undertake an exhaustive historical                Second Amendment protection without limitation. Further,
             analysis today of the full scope of the               under Bruen, if Plaintiffs demonstrate that their proposed
             Second Amendment, nothing in our                      conduct, that of buying and selling weapons regulated
             opinion should be taken to cast doubt                 by HB1240, is covered by the Second Amendment, the
             on longstanding prohibitions on the                   “Constitution presumptively protects that conduct.” Bruen at
             possession of firearms by felons and                  2126, 2129-2130 (emphasis added). This presumption can be
             the mentally ill, or laws forbidding                  overcome. Id.
             the carrying of firearms in sensitive
             places such as schools and government                 This opinion will now turn to the two Bruen considerations.
             buildings, or laws imposing conditions
             and qualifications on the commercial
             sale of arms.
                                                                                  1. Whether Plain Text Covers
                                                                                 Conduct Regulated by HB 1240

Id. at 626-627, 128 S.Ct. 2783. The Heller Court also               [9] The first consideration under the Bruen analysis requires
“recognized another important limitation on the right to keep      inquiry into whether the plain text of the Second Amendment
and carry arms ... the sorts of weapons protected were those       protects each of the individual Plaintiffs’ proposed courses of
‘in common use at the time.’ ” Id. at 627, 128 S.Ct. 2783.         conduct. Id. at 2126.
Heller’s list of permitted prohibitions on arms use, possession,
and sale does not purport to be exhaustive. Id. at 626 n. 26,       [10] The Plaintiffs seek to either buy or sell weapons
128 S.Ct. 2783.                                                    regulated by HB 1240. Dkt. 10. In support of their theory that
                                                                   the weapons regulated by HB 1240 are protected under the
 [8] In determining whether Washington's assault weapons           Second Amendment, the Plaintiffs point to various articles
regulation violates the Plaintiffs’ Second Amendment rights,       and websites purporting to indicate that there are millions
a test announced in New York State Rifle & Pistol Ass'n, Inc. v.   of assault weapons sold in the United States. Dkts. 10 and
Bruen, ––– U.S. ––––, 142 S. Ct. 2111, 2138, 213 L.Ed.2d 387       50. They point to court cases in which the number of assault
(2022), applies. First to be considered under Bruen, is whether    weapons in the United States is discussed. Id. However,
the “Second Amendment's plain text covers an individual's          the Plaintiffs’ submissions fail to submit any evidence in
conduct” regulated by the challenged law. Bruen at 2126,           the record before this Court. Their showing is marked by
2129-2130. If so, the “Constitution presumptively protects         argument without citations and sources showing that their
that conduct.” Id. Second, under Bruen, the burden shifts          argument would be supported by admissible evidence, even
to proponents of the law to justify the challenged law “by         under the relaxed rules for preliminary injunctions. It is
demonstrating that it is consistent with the Nation's historical   wholly unclear whether all of the weapons (like conversion
tradition of firearm regulation.” Id. at 2126 and 2130.            kits or semiautomatic pistols) regulated by HB 1240 are
                                                                   “in common use” based on the Plaintiffs’ scant submission.
The Plaintiffs maintain that they need only show that the          The Plaintiffs have not made “a clear showing” of evidence
“arms” regulated by HB 1240 are “in common use” today for          (Winter at 22, 129 S.Ct. 365) that supports their contention
lawful purposes and so are not “unusual.” Dkts. 10 and 50.         that all of the weapons covered by HB 1240 are “in common
If they do, they contend, the weapon cannot be banned under        use” and therefore not “unusual” (Heller at 626, 128 S.Ct.
Heller and Bruen. Id.                                              2783).



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                                                                   at 2-3. Drs. Rivas and Spitzer further note that often these
Nevertheless, for purposes of this motion only, the Court          new weapons proliferated and resulted in a rise in criminal
is willing to assume that Plaintiffs can produce evidence in       violence that terrorized the public. Id. They point out that it
support of Bruen's first requirement, that the Plaintiffs had      was then that States historically stepped in and regulated those
made a “clear showing” that the Constitution presumptively         dangerous weapons. Id.
protected the Plaintiffs’ proposed conduct. That assumption
does not end the inquiry. Bruen at 2130. This opinion will         HB 1240's proponents convincingly point to regulations
now address the second portion of Bruen - the burden shifting      on trap guns, bowie knives, clubs, slungshots, multi-shot
analysis.                                                          revolvers, and automatic weapons (like the Thompson
                                                                   submachine gun or “Tommy Gun”) as historical examples of
                                                                   weapons that, after being invented, their use proliferated, the
                                                                   weapons began to be used for interpersonal violence, and then
          2. Whether the Regulations in HB 1240
                                                                   States regulated the weapons. Dkt. 42 (citing Dkts. 47 and 48).
         are Consistent with Historical Regulations

 [11]    [12] At this stage, the burden shifts to the law's        As early as 1771, twenty years before the Second Amendment
proponents to “justify its regulation by demonstrating that it     was adopted, regulations banning dangerous weapons
is consistent with the Nation's historical tradition of firearm    existed. According to Dr. Spitzer, in 1771, New Jersey passed
regulation.” Bruen at 2126, 2130. In order to show that a          a law that prohibited trap guns, “devices or contraptions
law is “consistent with the Nation's historical tradition of       rigged in such a way as to fire when the owner need not be
firearm regulation,” the proponents must point to a historic       present.” Dkt. 48 at 19. Fifteen more states followed suit over
regulation (or regulations) that is an analogue for the modern     the next several years. Dkt. 48-2.
firearm regulation at issue. Id. at 2132. This inquiry “requires
a determination of whether the two regulations are relevantly      As stated above, this court is not the only court to consider
similar” using at least two metrics: the “how and why the          historical analogues for assault weapons bans. The Bevis court
regulations burden a law-abiding citizen's right to armed self-    (that was considering whether a state and local ban on the
defense.” Id. at 2133. The proponents need not point to a          sale of assault weapons and related accessories violated the
“historical twin” or a “dead ringer for historical precursors”     Second Amendment) examined over fifty examples of arms
to pass constitutional muster. Id.                                 regulation from the Colonial era to the early 20 th century,
                                                                   including those that HB 1240's proponents point to here.
 [13] While no U.S. Circuit Court of Appeals has ruled on this     Relying on Dr. Spitzer's opinion (also filed in this case at Dkt.
issue, other district courts have held that several regulations    48), the Bevis court's review of a portion of those regulations
in our Nation's history are sufficiently analogous to newly        provided, in part:
passed assault weapons bans to justify those bans and defeat
motions for preliminary injunction consistent with the Second        An early example of these regulations concerned the
Amendment. Bevis v. City of Naperville, Illinois, 2023 WL            “Bowie knife,” originally defined as a single-edged,
2077392, at *11-12 (N.D. Ill. Feb. 17, 2023); Delaware               straight blade between nine and ten inches long and
State Sportsmen's Ass'n, Inc. v. Delaware Dep't of Safety &          one-and-half inches wide. In the early 19th century, the
Homeland Sec., 2023 WL 2655150, at *12 (D. Del. Mar. 27,             Bowie knife gained notoriety as a “fighting knife” after
2023); Herrera v. Raoul, 2023 WL 3074799, at *6 (N.D. Ill.           it was supposedly used in the Vidalia Sandbar Fight, a
Apr. 25, 2023). The reasoning in these cases is persuasive.          violent brawl that occurred in central Louisiana. Shortly
                                                                     afterwards, many southerners began carrying the knife in
 *4 As in Bevis, Delaware State Sportsmen, and Herrera,              public because it offered a better chance to stop an assailant
HB 1240's proponents have demonstrated that HB 1240 is               than the more cumbersome guns of the era, which were
arguably consistent with the Nation's historic tradition of arms     unreliable and inaccurate. They were also popular in fights
regulation. According to the proponents’ experts, Brennan            and duels over the single-shot pistols. Responding to the
Rivas, Ph.D. and Robert J. Spitzer, Ph.D., throughout the            growing prevalence and danger posed by Bowie knives,
Nation's history, there are times when a new weapon is               states quickly enacted laws regulating them. Alabama was
invented, perhaps for the military, and then ended up on             first, placing a prohibitively expensive tax of one hundred
the commercial market for civilian use. Dkts. 47 at 2-3; 48          dollars on “selling, giving or disposing” the weapon, in



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  an Act appropriately called “An Act to Suppress the Use            to spread from the military to the civilian market following the
  of Bowie Knives,” followed two years later by a law                Civil War “and became associated with lawless violence, they
  banning the concealed carry of the knife and other deadly          were swiftly met by laws and regulations aimed at curbing
  weapons. Georgia followed suit the same year, making it            their possession and use.” Id. at 26 and 30-31; Dkt. 47 at
  unlawful “for any merchant ... to sell, or offer to sell, or       13-15.
  to keep ... Bowie, or any other kinds of knives.” By 1839,
  Tennessee, Florida, and Virginia passed similar laws. The          Dr. Spitzer opines that it was only in the post-World War
  trend continued. At the start of the twentieth century, every      I era when multi-shot semiautomatic and fully automatic
  state except one regulated Bowie knives; thirty-eighty             long guns, like Tommy guns, began to publicly circulate
  states did so by explicitly naming the weapon, and twelve          and “came to be associated with criminal use that they
  more states barred the category of knives encompassing             became a regulatory and public policy concern, leading
  them.                                                              to the enactment of anti-machine gun laws in at least 32
                                                                     states and between eight and eleven state laws restricting
Id. at 10. Dr. Spitzer notes that, all told, fifteen states barred   semi-automatic firearms.” Dkt. 48 at 31. As an example of
the carrying of a Bowie knife. Dkt. 48 at 9. After noting            restrictions on semiautomatic weapons, in the 1920s, Rhode
that state courts uniformly upheld the laws regulating Bowie         Island enacted a law that prohibited the manufacture, sale,
knives, the Bevis court turned to other laws regulating “melee       purchase, and possession of “any weapon which shoots more
weapons,” again relying on Dr. Spitzer's opinion:                    than twelve shots semi-automatically without reloading.”
                                                                     1927 R.I. Pub. Laws 256-57, ch. 1052 §§ 1,4.
   *5 As early guns proved unreliable, many citizens
  resorted to clubs and other blunt weapons. Popular
                                                                     In response to the rise in crime related to automatic weapons,
  instruments included the billy (or billie) club, a heavy,
                                                                     in 1934, Congress enacted the National Firearms Act, which
  hand-held club usually made of wood, plastic, or metal, and
                                                                     imposed extensive regulations on fully automatic weapons.
  a slungshot, a striking weapon that had a piece of metal or
                                                                     Dkt. 48 at 42. Later, in 1994, Congress passed the Violent
  stone attached to a flexible strip or handle. States responded
                                                                     Crime Control Act of 1994, which imposed a ten-year ban on
  to the proliferation of these weapons. The colony of New
                                                                     semiautomatic assault weapons. Pub. L. 103-322. In part, it
  York enacted the first “anti-club” law in 1664, with sixteen
                                                                     prohibited the manufacture, transfer or possession of assault
  states following suit, the latest being Indiana in 1905,
                                                                     weapons. 18 U.S.C. § 922(v)(1)(now expired). Even these late
  which proscribed the use of clubs in sensitive places of
                                                                     events are part of assault weapon regulation in the Nation's
  transportation. The city of Leavenworth, Kansas passed
                                                                     history.
  the first law regulating the billy club in 1862. By the
  early 1900s, almost half of states and some municipalities
                                                                     Each of the above arms restrictions, including bans and
  had laws relating to billy clubs. Many, such as North
                                                                     restrictions on carrying, arose from the same historical
  Dakota and the city of Johnstown, Pennsylvania, banned
                                                                     pattern. The weapon was invented, perhaps for the military,
  their concealed carry, while others outlawed them entirely.
                                                                     became widely popular with civilians, was associated with
  “Anti-slungshot” carry laws proved the most ubiquitous
                                                                     criminal use, and was then regulated by the States. Dkts. 47
  though. Forty-three states limited slungshots, which “were
                                                                     and 48. As has been the case throughout our Nation's history,
  widely used by criminals and street gang members in the
                                                                     HB 1240's prohibition on the manufacture, import, and sale of
  19th Century” because “[t]hey had the advantage of being
                                                                     semiautomatic assault weapons responds to the same pattern:
  easy to make silent, and very effective, particularly against
                                                                     technological weapons change that sets forth unprecedented
  an unsuspecting opponent.” ...
                                                                     social concerns.
Bevis at 11.
                                                                     Semiautomatic assault weapons represent a significant
The regulatory pattern continued when multi-shot revolvers           technological change - they allow a shooter to fire as fast as
became popular. According to Dr. Spitzer, “single shot guns          they can pull the trigger, unlike previous guns. Dkt. 45 at 3-6.
were the ubiquitous firearm until after the Civil War.” Dkt.         While semiautomatic weapons like the AR-15 were invented
48 at 26. It wasn't until the 1830s when the “affordable,            in the 1950s, the growth in ownership of semiautomatic
reliable” Colt multi-shot revolver was developed that multi-         assault weapons proliferated in the late 2000s. Id. at 6-15.
shot weapons became widely used. Id. Once revolvers began



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HB 1240's proponents have shown that unprecedented                 Moreover, the burdens imposed by the historical regulations
social concerns have arisen from the proliferation of              listed above and HB 1240 are “comparably justified.” All
these weapons. These weapons are exceptionally dangerous.          were enacted to respond to public safety concerns regarding
Assault weapons are used disproportionately in mass                weapons considered to be extremely dangerous.
shootings (Dkt. 46 at 11), police killings (Bevis at 15) and
gang activity (Id.). Mass shootings are on the rise. Dkt. 46       The Plaintiffs have not shown a “likelihood of success on
at 6-8. Use of assault weapons in mass shootings leads to a        the merits” or that there are “serious questions going to the
disproportionately greater likelihood of death. Dkt. 46 at 12.     merits” on the issue of whether HB 1240 violates their Second
“For instance, assault weapons were used in 80% of all mass        Amendment rights.
public shootings resulting in more than 24 deaths and 100%
of all high-fatality mass shootings resulting in more than 40
deaths.” Id. In the last ten years, the use of assault weapons     C. IRREPARABLE HARM
in high-fatality mass shootings and mass public shootings        [16] The Plaintiffs have not shown that they are “likely
has resulted, respectively, in 109% and 106% increases in       to suffer irreparable harm in the absence of preliminary
average fatalities per incident. Dkt. 46 at 14-15. Regulation ofrelief.” While the Plaintiffs maintain that any constitutional
assault weapons and their dangerous accessories, as HB 1240     violation results in irreparable harm, the case law cited
regulates, is arguably consistent with our Nation's history and is from First and Fourth Amendment violations and not
tradition of exceptionally dangerous arms regulation.           from alleged Second Amendment violations. Dkt. 10 (citing
                                                                Elrod v. Burns, 427 U.S. 347, 96 S.Ct. 2673, 49 L.Ed.2d
 *6 [14]       [15] The Plaintiffs argue that not all of the 547 (1976)(First Amendment violation) and Melendres v.
regulations recounted above were complete bans so they are      Arpaio, 695 F.3d 990 (9th Cir. 2012) (Fourth Amendment)).
not historical analogues of the type required under Bruen.      The individual Plaintiffs assert that they already own
Dkt. 50. This argument is unavailing. Bruen does not require    assault weapons and are harmed because they wish to
that the historical regulation be the exact same; it is not     purchase more. Yet, Plaintiffs have other alternative weapons
a “historical straight jacket.” Bruen at 2133. Analogical       available, particularly for self-defense. HB 1240 does not
reasoning requires that the law's proponents “identify a        affect several other weapons, including handguns, which are
well-established and representative historical analogue, not    the “quintessential self-defense weapon.” Bruen at 2143.
a historical twin.” Id. Further, as explained by Dr. Spitzer    Moreover, Sporting Systems Vancouver, Inc., the gun dealer
in relation to the Bowie knife regulations, complete bans       Plaintiff, has no independent Second Amendment right to sell
on the possession of certain weapons (as opposed to laws        firearms separate from its customer's right to acquire them.
forbidding the carrying of those weapons) did not occur as      Teixeira v. County of Alameda, 873 F.3d 670, 690 (9th Cir.
much in our early Nation's history because the federal and      2017). The Plaintiffs do not demonstrate an irreparable harm
state governments did not have the “maturity, powers, tools,    or a constitutional emergency warranting the “extraordinary
or resources” to implement and enforce a complete ban. Dkt.     remedy” of a preliminary injunction. Winter at 24, 129 S.Ct.
48 at 10. Instead, the chief remedy enacted by the states       365.
was to bar the carrying of knives, “along with the other two
categories of weapons that also threatened public safety, clubs
                                                                   D. BALANCE OF EQUITIES AND PUBLIC
and pistols.” Id. Bruen specifically cautioned that in cases of
                                                                   INTEREST
“dramatic technological changes” or “unprecedented societal
                                                                 [17] When the government is a party, as here, the last two
concerns,” a “more nuanced approach” may be necessary.
                                                                Winter factors merge. Drakes Bay Oyster Co. v. Jewell, 747
Bruen at 2132.
                                                                F.3d 1073, 1092 (9th Cir. 2014).

The burden imposed by both the historical regulations and
                                                                    [18] The Plaintiffs have not shown that the “balance of
HB 1240 are “relevantly similar:” they impose “comparable
                                                                   equities tips in their favor” or that an “injunction is in the
burdens” on the right of armed self-defense, and those
                                                                   public interest.” Winter at 7, 129 S.Ct. 365. The Plaintiffs
burdens are “comparably justified.” Bruen at 2133. The
                                                                   wish to buy or sell more assault weapons. Considering
burden of HB 1240 on armed self-defense is slight. The
                                                                   the exceptional dangerousness of these weapons, the public
proponents of HB 1240 have pointed to evidence that assault
                                                                   interest in their regulation by the State outweighs the
weapons are rarely used for self-defense. Dkts. 44 and 45.
                                                                   Plaintiffs’ desire to purchase more assault weapons. In light


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of recent mass deaths caused by assailants using assault
                                                                         To the extent that the Plaintiffs move to advance a trial on
weapons (Dkt. 44), it is appropriate for governmental bodies
                                                                         the merits or for summary judgment, those motions should be
to find ways to protect the public from dangerous weapons,
                                                                         denied without prejudice.
within the limits of the Second Amendment. Public opinion
is apparently strongly divided between the Plaintiffs and
Defendants – between those who wish unfettered access to
assault weapons and those who seek to curtail that access                                         III. ORDER
for public protection. From the record here, neither position
reflects the true public interest nor balances the equities in the       It is ORDERED that:
favor of the Plaintiffs.
                                                                           • The Plaintiffs’ Motion for Preliminary Injunction (Dkt.
                                                                              10) IS DENIED; and
   E. CONCLUSION
                                                                           • The Plaintiffs’ motion to advance to a trial on the merits
 *7 The Plaintiffs’ Motion for Preliminary Injunction (Dkt.
                                                                              and/or motion for summary judgment (Dkt. 10) ARE
10) should be denied. Plaintiffs have failed to demonstrate a
                                                                              DENIED WITHOUT PREJUDICE.
likelihood of success on the merits of the motion nor have
they raised a serious question on the merits tipping the balance
of hardships in Plaintiffs’ favor. They have not pointed to              All Citations
irreparable harm if an injunction does not issue, that the
balance of equities tips in their favor, or that public interest         --- F.Supp.3d ----, 2023 WL 3836230
favors a preliminary injunction. Issues raised in this opinion
cannot be resolved on a motion for preliminary injunction.

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           EXHIBIT B
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    COUNTY COURT, EL PASO COUNTY, COLORADO
    Court Address: 270 S. Tejon
                   Colorado Springs, CO 80903                             DATE FILED: June 8, 2023 10:11 AM
    Phone Number: (719) 452-5191                                          CASE NUMBER: 2022M5894


    PEOPLE OF THE STATE OF COLORADO

    vs

    DELBERT ELMER SGAGGIO,

    DEFENDANT
                                                                                COURT USE ONLY
                                                                           Case Number: 2022M5894,

                                                                           Division D

                                                                           Courtroom S203

               ORDER RE: DEFENDANT’S FEBRUARY 21, 2023, MOTION TO DISMISS


         For nearly 250 years, since just after the founding of this Nation, the possession of arms by

our citizens, specifically firearms for the purpose of self-defense, has been a protected by the

Second Amendment to the Federal Constitution. The question before this Court is whether

Colorado’s Large Capacity Magazine Ban runs afoul of those protections. For the reasons set forth

below, the Court finds that it does not.

                                                 I.   BACKGROUND1

         On March 20, 2013, Colorado’s Governor signed House Bill 13-1224 into law thereby

enacting C.R.S. §18-12-301, et seq. commonly referred to as Colorado’s Large Capacity Magazine

Ban (hereinafter the “LCM Ban”). In a nutshell, and as applicable in this matter, the ban prohibits

the possession of a detachable handgun magazine that is capable of holding in excess of 15 rounds

of ammunition. See C.R.S. §§18-12-301(2)(a)(I), 18-12-302(1)(a).2

1
  The background facts specific to this case come from a number of sources to include the Summons, and the
Pleadings and Exhibits of the Parties. The Court will cite to those sources where critical to its determination of the
Motion.
2
  Colorado defines LCM as capable of containing more than 15 rounds of ammunition. However, some jurisdictions
currently define a LCM as capable of holding as little as 11 rounds. See e.g. D.C. Code §7-2506.01(b), or as much


                                                          1
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         On the morning of August 15, 2022, Mr. Sgaggio entered the Colorado Springs Police

Department’s Sand Creek Substation and produced a 21 Round Sig Sauer Magazine.3 Mr. Sgaggio’s

magazine was confiscated as evidence and he was served a Summons and released on his promise

to appear.

         Mr. Sgaggio filed Motions to Dismiss pursuant to the United States and Colorado

Constitutions on October 17, 2022, and November 3, 2022. Mr. Sgaggio argued in his Motions that

the LCM Ban is unconstitutional. The Motions were denied because the issue had previously been

decided by both Colorado Supreme Court in Rocky Mountain Gun Owners v. Polis, 467 P.3d

314(Colo. 2020), and the Federal District Court in Colorado Outfitters Ass’n v. Hickenlooper, 24 F.

Supp 3d 1050 (D. Colo. 2014).4 However, because the issue was not decided under current

standard for review set forth by the United States Supreme Court in New York State Rifle & Pistol

Association, Inc. v. Bruen, 142 S.Ct. 2111(2022), this Court, having been newly assigned, gave leave

to Mr. Sgaggio to refile his Motion to challenge the LCM Ban and provide a copy of his Motion to the

Colorado Attorney General as required by C.R.S. §16-9-501.

         Mr. Sgaggio filed his newest challenge pursuant only to the United States Constitution on

February 21, 2023.5 The Colorado Attorney General’s Office filed its Response on April 21, 2023,6

and Mr. Sgaggio filed his Reply on May 2, 2023. The Court, now being fully informed, now FINDS

and ORDER as follows:




as 17. See e.g. 11 Del. C. §1468(2). While rulings on these bans (including those with lower capacities than
Colorado’s) are persuasive to the Court and this Court may refer to “LCM Bans” generally, the Court’s analysis and
holding is narrowly tailored to the Colorado definition of an LCM.
3
  See Summons filed with the Court on August 23, 2022, and Defendant’s October 17, 2022, Motion to Dismiss, at
page 3.
4
  The Court notes the District Attorney erroneously cited this as arising out of the 10th Circuit. In fact, the citation is
for the United States District Court for the District of Colorado. The 10th Circuit reversed and remanded the case
due to the Plaintiff’s lack of Article III standing in Colorado Outfitters Association v. Hickelooper, 823 F.3d 527
(10th Cir. 2016). However, neither ruling impacts this Court’s Order.
5
  The Court notes that Mr. Sgaggio’s Motion was filed well past the Court’s 28 day deadline. However, in light of
the Constitutional nature of the Motion, the Court has allowed the Motion to proceed.


                                                             2
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                                             II. APPLICABLE LAW

        On December 15, 1791, the United States ratified the Second Amendment to the United

States Constitution. The Amended reads: “A well regulated Militia, being necessary to the security

of a free State, the right of the people to keep and bear Arms, shall not be infringed.” U.S. Const.

amend. II.

        On July 9, 1868, the Fourteenth Amendment to the United States Constitution was ratified.

Section One of the Fourteen Amendment reads, in pertinent part, as follows: “No state shall make

or enforce any law which shall abridge the privileges or immunities of citizens of the United States;

nor shall any state deprive any person of life, liberty, or property, without due process of law; nor

deny to any person within its jurisdiction the equal protection of the laws.” In McDonald v. City of

Chicago, 561 U.S. 742(2010), the United States Supreme Court held that the 2nd Amendment,

through the 14th Amendment, applies to the States and prohibits States from enacting legislation

that would violate a citizen’s Second Amendment right to bear arms.

        In District of Columbia v. Heller, 554 U.S. 570 (2008) the Supreme Court recognized an

individual’s right to keep and bear arms for the purpose of self-defense. The Court also noted that

the right is not absolute. Id. at 576, and legislatures can still regulate “those weapons not typically

possessed by law-abiding citizens for lawful purposes,” Id. at 626 quoting United States v. Miller,

307 U.S. 174 (1939), and those statutes related to the “longstanding prohibitions on the possession

of firearms by felons and the mentally ill, or laws forbidding the carrying of firearms in sensitive

places such as schools and government buildings, or laws imposing conditions and qualifications on

the commercial sale of arms.” Heller, at 628.

        Following Heller, many jurisdictions adopted a two-part test to evaluate Second

Amendment challenges. The test developed asked first “whether the regulated activity falls within


6
 Mr. Sgaggio takes issue with the timeliness of the Attorney General’s Response. However, the Attorney General
was granted extensions by this Court to file a Response.


                                                       3
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the scope of the Second Amendment” based on text and history. And, if so, looked into the strength

of the government’s justification for restricting or regulating the exercise of Second Amendment

rights” and evaluated the “regulatory means the government has chosen and the public-benefits

end it seeks to achieve.” See Kanter v. Barr, 919 F.3d 437, 441 (7th Cir. 2011).

        However, in New York State Rifle & Pistol Association, Inc. v. Bruen, 142 S.Ct. 2111(2022)

the Supreme Court dispensed with the proposed two-part test and implemented a more stringent

test for Second Amendment cases. The Bruen test also requires a two-part analysis: if the “Second

Amendment's plain text covers an individual's conduct, the Constitution presumptively protects

that conduct. The government must then justify its regulation by demonstrating that it is consistent

with the Nation's historical tradition of firearm regulation. Only then may a court conclude that the

individual's conduct falls outside the Second Amendment's “unqualified command.”Bruen 142 S.Ct.

at 2129-2130, quoting Konigsberg v. State Bar of Cal, 366 U.S. 36, at 50 n. 10 (1961).

        What was left up in the air, as pointed out by the Attorney General, is the appropriate

standard of proof. The Court agrees with the Attorney General that, under prevailing Colorado

precedent, Mr. Sgaggio bears the initial burden of proving beyond a reasonable doubt that the

Second Amendment covers his conduct. In other words, that Mr. Sgaggio’s possession of a Large

Capacity Magazine is protected by the Second Amendment. As our courts have long recognized, a

statute is presumed to be constitutional. Curious Theater Co. v. Colo. Dep't of Pub. Health &

Env't, 216 P.3d 71, 76–77 (Colo. App. 2008), aff'd, 220 P.3d 544 (Colo. 2009). Further, the “party

challenging the constitutionality of a statute has the burden of proving the statute is

unconstitutional, as applied, beyond a reasonable doubt.” See People v. Nozolino, 350 P.3d 940, 945

(Colo. App. 2014) citing People v. Gutierrez, 622 P.2d 547, 555 (Colo. 1981). Of course, if Mr.

Sgaggio were able to achieve that burden, then it falls to the People to prove that the LCM Ban is

rooted in our country’s historical tradition.




                                                   4
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                                 III.     WHETHER “MAGAZINES” ARE ARMS

           The first inquiry for the Court is whether a magazine is an “arm” within the meaning of the

Second Amendment, or whether it is simply an accessory or “accoutrement” as argued by the

Attorney General.

           Colorado Revised Statute §18-1-901(3)(h) defines a “firearm” as including any “handgun, …

pistol, or other instrument capable or intended to be capable of discharging bullets, cartridges, or

other explosive charges.” The legislature has opted not to define “firearm” or “handgun” any

further, and the LCM Ban is silent as to whether or not the legislature considers magazines to be

part of a firearm, or merely an accessory.

           The Attorney General argues that magazines are not “arms” within the meaning of the

Second Amendment and has offered two expert declarations in support of their position. Dr.

Dennis Barron, an expert in the historical aspects of the English language, opines that “magazines”

are merely “accoutrements” and not a part of a firearm. His opinion is based, primarily, on the fact

that magazines in their current form did not exist when the Second Amendment was ratified, and

the closest analogy is a “cartridge box” or “cartouch box”7 which was used for the storage of

ammunition apart from the firearm.8 Dr. Barron’s opinion is not based on any specialized

knowledge of firearms, but that of linguistics. This argument ignores the requirement that this

Court must still consider weaponry that was not in existence at the time of the nation’s founding.

See Heller, 554 U.S. at 582. This analogy also ignores the fact that a “magazine” is not simply an

ammunition storage box as were cartouch boxes, but a necessary part of a semi-automatic pistol

designed to “feed multiple rounds of ammunition” into the chamber of the pistol (or other firearm)

so it can be fired.9 Contrast this with an item that can accessorize a firearm or change its

performance such as silencers or bump-stocks. The former can reduce the decibel level of a firearm


7
    See Declaration of Dennis Baron at ¶9, 34, 69, 71.
8
    See Declaration of Joseph Bilby at p. 3.


                                                         5
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a limited amount, and the latter increases the speed of firing a semi-automatic rifle through the

rifle’s recoil. While both of these items are “accessories” to the firearm, neither are necessary for

the firearm to function as designed.

           The Attorney General’s second expert suggests that magazines are not weapons since they

are not classified as weapons by law enforcement authorities.10 However, the Court does not find

this opinion to be persuasive for two reasons. First, the list of “weapons” which includes shotguns,

pistols, and other firearms, does not include any individual part of a firearm (i.e. firing pin, trigger,

stock, etc.). The other “weapon” categories include, inter alia, “drowning”, “blunt objects”, “none”,

“unknown”, “unarmed”, and “other.” Given the expansive definition of “weapons” used by law

enforcement, which includes the catchall words “unknown” and “other,” it is clear that any object

falls into the definitional category of weapon, including “magazines” dependent on how it is used.

           This conclusion is also support by Colorado Law. Colorado Revised Statute §18-1-

901(1)(e)(II) defines a “Deadly Weapon” to include a “knife, bludgeon, or any other weapon, device,

instrument, material, or substance, whether animate or inanimate, that, in the manner it is used or

intended to be used, is capable of producing death or serious bodily injury.” [Emphasis added]. LCMs

(and all magazines) were designed for military service with a clear purpose of causing injury and

death. See generally §IV infra. It is clear to this Court that the Colorado Legislature has a very broad

definition of what constitutes a deadly weapon which would include all magazines. See also People

v. Pennese, 830 P.2d 1085 (Colo. App. 1991) (Fists as a deadly weapon); People in Interest of J.R.,

867 P.2d 125 (Colo. App. 1993) (BB Gun as a deadly weapon). The Court also notes the legislature’s

concern regarding LCM in establishing the ban: that LCMs have the potential of causing

substantially more injury and loss of life due to their design in limiting breaks in firearm operation.

See §IV.c. infra.


9
    See Declaration of James E. Yurgealitis at ¶15.
10
     See Declaration of Jeffrey Zax, Ph.D. at ¶ I.A.


                                                       6
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           Given that magazines have been described by the Attorney General’s experts as a necessary

part of the proper function of a firearm, the Court finds persuasive the 3rd Circuit Court of Appeals’

holding in New Jersey Rifle & Pistol Clubs, Inc. v. Att’y Gen. New Jersey, 910 F.3d 106 (3d Cir. 2018).

The 3rd Circuit held, “Because magazines feed ammunition into certain guns, and ammunition is

necessary for such a gun to function as intended, magazines are ‘arms’ within the meaning of the

Second Amendment.” Id. at 116. This conclusion is supported by caselaw cited by the Attorney

General. See Fyock v. Sunnyvale, 779 F.3d 991(9th Cir. 2015). Therein, the 9th Circuit Court of

Appeals noted recognized the Second Amendment includes a limited “right to possess the

magazines necessary to render … firearms operable.” Id. at 998.

           The Attorney General also concedes in their brief that a ban on magazines would likely be a

de facto regulation of “arms” which require magazines to function.11 Of course, that is not

necessarily at issue in the instant matter for two reasons: First, Mr. Sgaggio admits that his firearm

functions without the need for a magazine, it simply becomes a single-shot pistol which requires

reloading after each round is fired.12 Second, and more importantly, the statute at issue prohibits

the sale, transfer, or possession of LCMs. See C.R.S. §18-12-302(1)(a). There is no requirement in

the statute that the LCM be inside a firearm, in the vicinity of a firearm, intended to be used with a

firearm, or that the possessor of the LCM even have access to a firearm. The simple possession of the

LCM is the crime for which Mr. Sgaggio is charged, not his intended use. This is also in line with

other Colorado Statutes that outlaw simple possession of an illegal item, regardless of whether the

item will, or even can be used. See e.g. C.R.S. §18-18-403.5 (Possession of a Controlled Substance, as

opposed to Use a Controlled Substance prohibited by C.R.S. §§18-18-404; 18-12-102 (Possession

illegal weapons including brass knuckles and dangerous weapons including ballistic knives and



11
     See “The Attorney General’s Response Under §16-9-501, C.R.S. to Defendant’s Constitutional Challenge,” at n.
6.
 See Mr. Sgaggio’s “Response to the Attorney General’s Motion for Extension of Time to File Response to
12

Defendant’s Constitutional Challenge” filed on March 20, 2023, at p. 1.


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silencers); 18-5-903.5(Possession of another’s driver’s license); 42-4-1415 (Possession of Radar

Jamming Device).

       The Court finds that a magazine, and specifically a LCM is an “arm” within the meaning of

the Second Amendment irrespective of whether a firearm is present for its use. The fact that Mr.

Sgaggio has a pistol to be used in conjunction with the LCM only supports this conclusion as the

LCM Ban applies to him personally. It matters not that Mr. Sgaggio’s firearm may operate

effectively as a single-shot pistol without the magazine, but that Mr. Sgaggio’s firearm only

functions as designed with a magazine inserted. Modern semi-automatic firearms are designed to

operate with the use of a magazine, thus making the magazine an “arm” within the meaning of the

Second Amendment.

       The Court finds, based on the record before it, including the Attorney General’s Exhibits,

that Mr. Sgaggio has met the threshold burden of proving beyond a reasonable doubt that the

“Second Amendment's plain text covers [his] conduct” in possessing an LCM. The Court now turns

to whether the LCM Ban “is consistent with the Nation's historical tradition of firearm regulation.”

Bruen 142 S.Ct. at 2129-2130.

                      IV. WHETHER LCMS ARE SUBJECT TO RESTRICTIONS

       Having concluded that magazines are “arms” within the meaning of the Second Amendment,

the Court now turns to whether LCMs can still be regulated, or outright banned.

       The Attorney General has provided expert declarations supporting a historical tradition of

regulating LCMs dating back to the late 19th and early 20th centuries. Mr. Sgaggio argues these are

irrelevant since the only time period this Court should consider is the 77 years between the

ratifications of the Second and Fourteenth Amendments.

       IV.a. Analogous Restrictions in Historical Tradition from 1791 to 1868

       The District Attorney suggests magazines are more analogous to cartouch boxes, an

argument with which this court disagrees for the reasons set forth in §III. Supra. As previously


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noted, cartouch boxes were used for the storing and carrying ammunition separately from the

firearm by an individual. This is as opposed to devices that are meant to assist in feeding

ammunition into the chamber of a firearm or firing multiple rounds without the need to stop and

reload. No Exhibit provided by either party reveals a “historical twin” for the modern magazine,

and the Court seeks the closest “historical analog” to use in its analysis. See Bruen 142 S.Ct at 2133.

The Court notes the “historical analogs” existing during the early part of the relevant time period

encompassing 1791 through 1868 are mostly limited to wind guns, and the occasional novelty

firearm such as pepperbox pistols. 13 These weapons did not achieve any mass production, and

while several “repeating” type firearms were also invented, none were generally available to the

public and were primarily designed for, and marketed to governments for military use. 14 None of

these firearms were designed for civilian use for self-defense.

        During the early to mid-1800s the lever action rifle and revolvers were invented and came

into production. However, with the exception of some rare novelty weapons, the maximum

capacity for these firearms was generally no more than ten rounds (less for revolvers), with limited

exception including the Henry Rifle and the Winchester 1873 Rifle that each held 15 rounds in their

internal magazines. However, the Henry Rifle only saw limited production in the civilian sector for

a very short span of time,15 and the Winchester 1873 was specifically designed for military use.16

        It wasn’t until the early 20th century that detachable magazines were invented,17 and it

wasn’t until the 1920’s following the advent of the Thompson Machine Gun that LCMs increased

production.18 Once again, these advances in technology were designed and intended for use by the

military.19 Given the rarity of LCMs or their historical analogs between 1791 and 1868, it is


13
   See generally Declaration of Dennis Barron, Declaration of Joseph Bilby and Declaration of Robert J. Sptizer.
14
   See generally Declaration of Joseph Bilby.
15
   Id. at 21.
16
   See Declaration on Spitzer at ¶38 quoting Koller, The Fireside Book of Guns, 112.
17
   Id. at 28.
18
   See Declaration of Robert J. Spitzer at ¶4.
19
   See generally Declaration of Joseph Bilby and Declaration of Robert J. Spitzer.


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unsurprising that there is a lack of legislation amongst the states specifically regulating that

technology.

        Mr. Sgaggio relies on the dissent in Duncan v. Bonta, 19 F.4th 1087 (9th Cir. 2021) to support

his position that LCMs have a long historical pedigree in our country. However, the dissent in

Duncan v. Bonta, merely makes a conclusory statement regarding the “highlights” of LCMs in the

United States, without additional analysis. Id. at 1154-115 (Bumatay, dissenting). The dissent relies

heavily on the conclusions of David B. Kopel from The History of Firearm Magazines and Magazine

Prohibitions, 78 Alb. L. Rev 849 (2015). However, Mr. Kopel’s conclusions are contradicted by Dr.

Spitzer in Attorney General’s Exhibit 4.20 The Court agrees with Dr. Spitzer’s analysis, and no

contradictory evidence has been presented. cf. People v. DeBaca, 736 P.2d 25 (Colo. 1987) (Courts

may not ignore uncontradicted credible evidence in the record).21

        The Court maintains its conclusion, based on the signed declarations admitted as evidence

by the Attorney General, that firearms capable of firing multiple rounds of ammunition without

reloading were simply not commonplace, certainly not in the civilian sector, and therefore there

was no need for specific regulations. As noted by Dr. Spitzer, for there to be a regulation of a certain

firearm technology, there must first be the technology (which is generally designed for military

use), and ultimately that technology must make its way into the civilian sector and pose a threat

such that legislatures recognize the need to take action.22 That chain of events did not occur until

the early 20th century.

        IV.b. LCM regulation in the 19th and 20th Centuries

        After the advent of detachable magazines in the early part of the 20th century, and those

magazines began to make their way into the civilian sector, legislatures across the county began


20
   See Declaration of Robert J. Spitzer at ¶¶26-27.
21
   Mr. Sgaggio submitted Exhibit 1 with his Reply Brief, the Declaration of James Curcuruto that was submtted in a
Federal Civil Action. The Declaration relates to the availability and prevalence of the AR-15 Rifle, a subject that
has no relevance to these proceedings.
22
   Id. at ¶43.


                                                        10
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working on legislation to regulate those arms. The first bans came about in 1917 with the majority

enacted between 1927 and 1933.23 In all, ten(10) state legislatures and the United States Congress

(specific to the District of Columbia) limited the possession of magazines that contained between

two(2) and seventeen(17) rounds of ammunition depending on the jurisdiction.24

            That Colorado waited until 2013 to enter the fold is inconsequential to this Court. While

Colorado’s law is young, it is clear that within a decade of LCM becoming widely available, the

United States Congress, a quarter of all states, and Hawaii all imposed some form of ban on firearms

that could fire multiple rounds without reloading. Twenty-three states imposed some restriction

on automatic weapons that had ammunition feeding capabilities.25 Given that a number of states

and the District of Columbia (via the United States Congress) reacted relatively soon after

magazines became readily available, the Court is convinced that historically there has been

regulation of magazines, both detachable and fixed.

            The Court recognizes the lag time between the ratification of the Second and Fourteenth

Amendments, and the legislation. However, this is not unusual where the technology sought to be

regulated did not exist, nor could reasonably be foreseen when ratification occurred. See Katz v.

United States, 389 U.S. 347 (1967) (wiretapping phones violates the 4th Amendment); Carpenter v.

United States, 585 U.S. ____ (2018), 138 S.Ct. 2206 (2018) (Applying 4th Amendment protections to

Cellular GPS data); Reno v. ACLU, 521 U.S. 844 (1997) (First Amendment protections applied to

internet communications).

            IV.c.    Justifications for the LCM Ban

            The Colorado Legislature enacted LCM Ban in an effort to prevent further mass casualties.

As the Attorney General noted in its Brief, “the LCM Ban mandates a critical pause during otherwise

uninterrupted shooting by forcing a shooter to replace a spent magazine.” The pause ultimately


23
     Id. at 20, Table 1.
24
     Id.


                                                      11
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gives potential victims an opportunity to escape injury or death, and law enforcement an

opportunity to intervene.26 See also Rocky Mtn Gun Owners v. Hickenlooper, 472 P.3d 10 (Colo.

App. 2018). This purpose is consistent with the basis for the early 20th century LCM bans. The bans

were designed to reduce criminality, to protect civilian lives and because LCMs were deemed to

serve no lawful purpose in civilian use, to include self-defense.27

        Mr. Sgaggio argues that the magazine is necessary to defend himself against some

unforeseen enemy. However, as noted previously the firearm Mr. Sgaggio professes to own does

not require an LCM, or any magazine for that matter. Of course, to function as designed a magazine

must be inserted into the firearm, but not necessarily a 21 round magazine. In fact, as the Attorney

General noted in its Brief, the LCM Mr. Sgaggio is alleged to have had in his possession is

interchangeable with a fully-legal ten round magazine.28

        Given that the Second Amendment is rooted in the right to bear arms in self-defense, the

Court turns to whether the possession of a LCM is consistent with that right. See Bruen, 142 S.Ct. at

2134; As noted previously, the Heller Court noted the core of the Second Amendment is to provide a

mechanism for self-defense. 554 U.S. at 576. Further, those protections do not extend to weapons

designed for military use. 554 U.S. at 627. The Court is persuaded by the historical analysis

provided by the Attorney General that the historical analog firearms that could fire more than 10

rounds without reloading were designed, and used primarily by the military and not for individual

self-defense. See Section IV.b. supra. Mr. Sgaggio has presented no evidence to the contrary. See

People v. DeBaca, supra.

        The Court finds the Attorney General has established a historical tradition of regulating

military-style weapons, specifically LCMs once they are available in the civilian sector. The Court



25
   Id.
26
   Attorney General’s Response at p.2.
27
   See Declaration of Spitzer at ¶¶ 16-20.
28
   See Attorney General’s Response at p. 8 & n. 7.


                                                     12
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further finds the Attorney General has established that LCMs were designed and primarily used for

military or offensive use, and not for individual self-defense.

                                       V. MOTION FOR BILL OF PARTICULARS

           Mr. Sgaggio requested, as alternative relief, a Bill of Particulars.29 As an initial matter,

Colorado Rule Crim. P. 7(g) requires that a Bill of Particulars be filed within 14 days after

arraignment "or at such other time before or after arraignment as may be prescribed by rule or

order." [emphasis added]. This matter was arraigned in Division H on November 22, 2022. Under

the rule the request for a Bill of Particulars was due no later than December 6, 2022. This Court

was assigned the case and Mr. Sgaggio appeared before it on December 13, 2022, for scheduling.

The Court issued a Case Management Order (CMO) on that date, and gave leave for Mr. Sgaggio to

file additional Motions consistent with the CMO. The CMO sets a deadline of 28 days for the filing of

all Motions. See CMO Paragraph 2. Thus, all motions were due no later than close of business on

January 10, 2023. The instant Motion was file more than one month past the deadline set by the

Court, and significantly past the deadline set by Crim. P. 7(g).

           Notwithstanding, the Court has considered the Motion and the Court file. In ruling on a

request for a Bill of Particulars, the Court should consider whether the requested information is

necessary for the defendant to prepare his defense. People v. Whitman, 205 P.3d 371 (Colo. App.

2007). The prosecutor need not, however, disclose all evidence in detail, or explain legal theories

upon which he intends to rely at trial. People v. Rubanowitz, 688 P.2d 231 (Colo. 1984). Finally, a

Bill of Particulars is not necessary where the Summons sufficiently advises the defendant of the

accusations. Howe v. People, 496 P.2d 1040 (Colo. 1972).

           The Court, having reviewed the Summons, finds it is sufficiently detailed to fully inform Mr.

Sgaggio of the charge against him, and the allegations that gave rise to that charge. This is



29
     See Motion to Dismiss at p. 16.


                                                       13
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particularly true in light of Mr. Sgaggio’s pleadings in this Matter and apparent knowledge of the

charge with which he is accused.

                                           VI. CONCLUSION

        The Court finds that magazines are “arms” for the purpose of the Second Amendment. The

Court finds the Attorney General has established that C.R.S. §18-12-301, et seq. is consistent with

the historical tradition of firearms regulation. The Motion to Dismiss is respectfully DENIED.

        The Court is not sitting in equity in this Matter, but as a criminal court. Thus, Defendant’s

request for declaratory relief is respectfully denied as outside of this Court’s Jurisdiction and

inconsistent with this Court’s Findings and Order as set forth above.

        The Motion for a Bill of Particulars is DENIED.

        In light of the ruling, the Court declines to address the Attorney General’s additional

arguments. See People v. Curtis, 350 P.3d 949 (Colo. App. 2014) (“[T]he cardinal principle of judicial

restraint—if it is not necessary to decide more, it is necessary not to decide more.” (quoting PDK

Lab'ys Inc. v. U.S. Drug Enf't Admin., 362 F.3d 786, 799 (D.C. Cir. 2004) (Roberts, J., concurring in

part and concurring in judgment)).

        SO ORDERED this 7th day of June , 2023.

                                                          BY THE COURT:




                                                          DENNIS L. MCGUIRE
                                                          COUNTY COURT JUDGE




                                                   14
